74 F.3d 1230NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Rexford Garland CASSIDY, Plaintiff--Appellant,v.Mr. LAWSON, Warden, Defendant--Appellee.
    No. 95-7014.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 11, 1996.Decided Jan. 23, 1996.
    
      Rexford Garland Cassidy, Appellant Pro Se.
      Before RUSSELL, HALL, and WILKINSON, Circuit Judges.
    
    
      1
      Dismissed by unpublished per curiam opinion.
    
    PER CURIAM
    
      2
      Appellant appeals the district court's dismissal of his Complaint without prejudice for failure to particularize his claims.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      3
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    